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     12
     13
     14
     15                 IN THE UNITED STATES DISTRICT COURT
     16              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
     17
          KFX MEDICAL CORPORATION, a           ) Case No. 11cv1698 DMS (BLM)
     18                                        )
          Delaware corporation,
     19                                        ) SECOND DECLARATION OF
               Plaintiff and Counterdefendant, ) TATE SCOTT IN SUPPORT OF
     20                                        ) PLAINTIFF’S MOTION TO
               v.                              ) AMEND THE JUDGMENT AND
     21                                        ) MAKE ADDITIONAL
          ARTHREX, INCORPORATED, a             ) FINDINGS
     22                                        )
          Delaware corporation,
     23                                        )
               Defendant and Counterclaimant. ) Date: January 31, 2014
     24                                        ) Time: 1:30 p.m.
                                               ) Courtroom 13A
     25                                        ) Honorable Dana M. Sabraw
     26                                        )

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      1            I, Tate Scott, declare and state as follows:
      2            I am the President and CEO of KFx Medical Corporation in this action.
      3   The following statements are based on my personal knowledge unless otherwise
      4   indicated. I could and would testify concerning these matters if called upon to
      5   do so.
      6            1.    Attached hereto as Exhibit P is a true and correct copy of the Final
      7   Program for the 32nd Fall Course of the Arthroscopic Association of North
      8   America (“AANA”), which I attended. Although I did not attend Dr. Millett’s
      9   breakout session, it is referenced at page 15 of the Final Program. As is typical
     10   at these conferences, the AANA limits attendance at breakout sessions.
     11   Specifically, the Final Program states at page 14 (emphasis added):
     12            The Focus Demonstration sessions are intended to offer you a
     13            unique experience. To keep the atmosphere informal and hands-
     14            on, each demonstration is limited to 20 participants and one or two
     15            faculty members. This will allow a hands-on experience and easy
     16            dialogue with the “experts.” The faculty members will discuss
     17            pearls and pitfalls for each procedure. Please register for the Focus
     18            Demo’s of your choice on the registration form.          There is no
     19            registration fee for a Focus Demo.
     20            I declare under the penalty of perjury of the laws of the United States of
     21   America that the foregoing is true and correct.
     22
     23            Executed on January 9, 2014, in San Diego, California.
     24
     25
     26                                                Tate Scott
     27
     28
                                                   1                          Second Scott Declaration
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